 ON SUPERVISORY WRITS TO THE SECOND JUDICIAL DISTRICT COURT, PARISH OF BIENVILLE PER CURIAM: ' I denied. Relator fails to show that he is entitled to an out-of-time appeal-pursuant to State v. Counterman, 476 So.2d 336(La. 1986); Cf. La.C.Cr.P. art. 930.2. In addition, he fails to show that he .received ineffective assistance of counsel under the standard of Strickland v. Washington, 466 U.S. 668, 104 act. 2062, 80 L.Ed.2d 674 (1984). Relator has iiow fully litigated his application for post-cónviction relief in state court. Similar to federal habeas relief, see 28 U.S.C. § 2244, Louisiana post-conviction procedure envisions the filing of a successive application only under the narrow circumstances provided in La.C.Cr.P. art. 930.4 and within the limitations period as set out in La.C.Cr.P. art. 930.8. Notably, the legislature in 2013 La. Acts 251 amended that article to make the procedural bars against successive filings mandatory. Relator’s claims have now been fully litigated in accord with La.C.Cr.P. art. 930.6, and this denial is final. Hereafter, unless he can show that one of the narrow exceptions authorizing the filing of a successive application applies, relator has exhausted his -right to state collateral review. The . district court is ordered to record a minute entry consistent with this per curiam. 